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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                                    FOURTH DIVISION

Don Wold                                                 Case No.:
15136 53rd St. NW
Annandale, MN 55302                                      Judge:

         Plaintiff,                                         COMPLAINT FOR DAMAGES
                                                              UNDER THE FAIR DEBT
v.                                                         COLLECTION PRACTICES ACT,
                                                         INVASION OF PRIVACY, AND OTHER
Redline Recovery Services, LLC                                  EQUITABLE RELIEF
380 Jackson Street, #700
St. Paul, MN 55101                                        JURY DEMAND ENDORSED HEREIN

         Defendant.


                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around November 20, 2009, Defendant telephoned Plaintiff’s sister-in-law (“Valerie”)

     and left a voice message.

8. On or around November 20, 2009, Plaintiff telephoned Defendant.




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9. During this communication, Plaintiff notified Defendant to cease communications to Valerie.

10. Despite Plaintiff’s notice, Defendant telephoned Valerie at least two more times thereafter.

11. At the time of these communications, Defendant already had Plaintiff’s location information.

12. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

13. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

14. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

15. Defendant violated 15 U.S.C. §1692c in that it communicated with a third party and failed to

   comply with 15 U.S.C. §1692b.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

17. Defendant violated 15 U.S.C. §1692c in that it communicated with a third party more than

   once and is without justification for multiple contacts.

                                         COUNT THREE

                         Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

   unconscionable means to collect the debt.




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                                           COUNT FOUR

                        Invasion of Privacy by Intrusion upon Seclusion

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. Defendant intentionally interfered, physically or otherwise, with Plaintiff’s solitude,

    seclusion, and or private concerns.

22. Defendant intentionally caused harm to Plaintiff’s emotional well being by engaging in

    highly offensive conduct in the course of collecting a debt, as described herein.

23. Plaintiff has a reasonable expectation of privacy in Plaintiff’s solitude, seclusion, and or

    private concerns or affairs.

24. The intrusion by Defendant occurred in a way that would be highly offensive to a reasonable

    person in that position.

25. As a result of such invasions of privacy, Plaintiff is entitled to actual damages in an amount

    to be determined at trial.

                                          JURY DEMAND

26. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

27. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. Judgment, in an amount to be determined at trial, against Defendant for the

                Invasion of Privacy by Intrusion upon Seclusion.




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c. For such other legal and/or equitable relief as the Court deems appropriate.

                                 RESPECTFULLY SUBMITTED,

                                 Legal Helpers, P.C.

                                 By: /s/ James Agosto
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